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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                   BRIDGEPORT DIVISION

------------------------------------------------------x
                                                      :
In re:                                                :   Chapter 11
                                                      :
HO WAN KWOK, et al.,                                  :   Case No. 22-50073 (JAM)
                                                      :
                  Debtors. 1                          :   Jointly Administered
                                                      :
------------------------------------------------------x

       STATEMENT OF CHAPTER 11 TRUSTEE WITH RESPECT TO DEBTOR’S
                 SOCIAL MEDIA INTIMIDATION CAMPAIGN

        Luc A. Despins, as the Chapter 11 Trustee appointed in the chapter 11 case of Ho Wan

Kwok (the “Trustee”), by and through his undersigned counsel, respectfully submits this

statement (the “Statement”) with respect to the social media campaign against the Trustee

launched by the Debtor in connection with the Motion of Chapter 11 Trustee for Entry of Order

Holding Debtor in Civil Contempt for Failure to Comply with Corporate Governance Rights

Order [Docket No. 913] (the “Contempt Motion”).

                                               BACKGROUND

        1.       At the hearing held on November 16, 2022 (the “November 16 Hearing”) in

connection with the Contempt Motion, the Trustee made the Court aware of a communication by

an organization linked to the Debtor called the “Himalaya Global Alliance” asking its supporters

to protest at the addresses of “known CCP operatives and sympathizers.” This communication

(the “Call to Protest”) included the addresses of the office of Paul Hastings in New York City,


1
    The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
    Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595) (the “Debtor”) and
    Genever Holdings Corporation (“Genever BVI”). The mailing address for the Trustee and Genever BVI is Paul
    Hastings LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho
    Wan Kwok (solely for purposes of notices and communications).
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the home address of the Trustee in                                  , and the home address of the

Trustee’s former spouse in                                 (as well as the home addresses of the family

of an executive of Pacific Alliance Asia Opportunity Fund, L.P. (“PAX”) and the office of

O’Melveny Myers, counsel to PAX, in New York City). 2 The Call to Protest was clearly was a

form of cyber terrorism aimed at intimidating the Trustee and PAX, the Debtor’s largest creditor.

        2.       Moreover, at the November 16 Hearing, the Trustee also presented videos that the

Debtor posted on social media following the Trustee’s November 11, 2022 deposition of the

Debtor in connection with the Contempt Motion. In these videos, the Debtor baselessly and

absurdly attacked the Trustee and his counsel as agents of the Chinese Communist Party. Even

the Debtor’s counsel (after initially objecting to the presentation of the videos) condemned the

Debtor’s conduct.

        3.       Subsequently, near the end of the hearing held on November 18, 2022 in

connection with the Contempt Motion (the “November 18 Hearing”), the Trustee noted that the

Debtor had posted on social media additional attacks on the Trustee and PAX.

        4.       On November 19, 2022, counsel to the Trustee sent an email to the Court,

copying counsel to the Debtor, counsel to PAX, and counsel to the United States Trustee,

summarizing the social media attacks referenced by the Trustee at the November 18 Hearing and

noting that the Trustee would follow up with this Statement describing the Debtor’s social media

intimidation campaign in more detail.




2
    See                                                                                                    (last
    accessed November 20, 2022). A copy of the Call to Protest as presented at the November 16 Hearing and as
    posted to Gettr is attached hereto as Exhibit A.

                                                       2
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                  American and Chinese people . . . to enslave the Chinese people” and being a

                  “spy and a thief stealing pension funds” for the Communist Party. 6

              b) The presenters of the main portion of the video (“Prince” and “Nicole”) attack the

                  Trustee “as acting for the interest of the CCP,” 7 and repeatedly show a photo of

                  the Trustee together with the map of China, colored red with a prominent hammer

                  and sickle. 8

              c) The presenters directing themselves to the Trustee, state: “your

                  children, we will make sure they know they should be shameful of having a father

                  like you” 9 and “you have                        , right, I hope they are watching this.” 10

              d) The presenters refer to the Trustee and counsel to PAX as “American traitors” and

                  “enablers of evil” who help build concentration camps on behalf of the CCP and

                  whose “hands are stained with Chinese people’s blood,” comparing the Trustee

                  and counsel to PAX with lawyers “going after the Jews” during the Holocaust. 11

              e) The presenters, threatening protests directed at the Trustee’s workplace and

                  private residence, say that “even scumbags, like [the Trustee] . . . [have] family

                  and friends” and, directing themselves to the Trustee, threaten to “make sure

                  every single person in your life . . . know[s] what you have done to the Chinese

                  people . . . that those concentration camps were able to be built because of you.” 12



6
     First Video 0:00 – 2:39.
7
     First Video 5:40 – 5:48.
8
     A screenshot of this image is attached as Exhibit B hereto.
9
     First Video 21:54 -22:05.
10
     First Video 25:50 – 25:59.
11
     First Video 24:00 – 25:04.
12
     First Video 34:00 – 35:32.

                                                          4
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         7.       In addition, the Debtor has also reposted another video (the “Second Video” and,

together with the First Video, the “NFSC Videos”), also originally posted by NFSC Speaks, that

again makes numerous baseless and outrageous attacks in an effort to intimidate the Trustee and

counsel to PAX, including the following:

              a) The same two presenters from the First Video (joined by a third guest) show

                  pictures of the Trustee as well as PAX’s attorneys (including Mr. Sarnoff, Mr.

                  Friedman, and Mr. Harbach), 13 accusing them of, among other things, being

                  “worse than a Nazi collaborator in World War Two.” 14

              b) The presenters, directing themselves to PAX’s counsel and the Trustee, threaten

                  to, among other things, “make sure every single person in your life . . . knows

                  about the horrible things that you have done to the Chinese people.” 15

              c) Even worse, the presenters show pictures of each of the Trustee’s

                  identifying their names and employers, and, among other outrageous

                  comments, claiming that “your father [i.e., the Trustee] . . . is literally putting

                  millions of Uighurs in concentration camps.” 16

              d) The video also presents pictures of PAX’s attorneys, the Trustee, and even the

                  Trustee’s               together with a map of China, colored red, with a prominent

                  hammer and sickle. 17



13
     See Second Video, e.g., 19:26; 19:30; 19:46.
14
     See Second Video, 30:20-27. Screenshots of the Second Video showing images of PAX’s attorneys near a red
     China and sickle image are attached hereto as Exhibit I.
14
     See Second Video 32:40-32:46.
15
     See Second Video 30:00 – 30:23.
16
     See Second Video 32:40-32:46
17
     Screenshots of these images are attached hereto as Exhibit C.

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signs attacking, and showing the photographs of, the Trustee’s counsel, Mr. Bassett and Mr.

Luft, as well as PAX’s counsel, including Mr. Sarnoff and Mr. Friedman. 25

     DEBTOR’S CONDUCT IS INEXTRICABLY LINKED TO THIS CHAPTER 11 CASE
                          AND CONTEMPT MOTION

          16.      The Debtor’s conduct on social media as described herein and at the November

16 Hearing and November 18 Hearing represents nothing more than the Debtor’s attempt to

oppose the Trustee’s Contempt Motion through “extra-judicial” means. The Debtor views social

media, where he can rely on his hundreds of thousands of followers to intimidate and silence his

opponents, as a second front in his war to protect himself from any kind of scrutiny or

accountability. Indeed, the Debtor is well known for this type of behavior, as demonstrated in

the Vice News video presented by the Trustee to the Court at the November 16 Hearing. 26

          17.      The connection between this social media campaign and the Contempt Motion is

clear from the chronology of this recent burst of online attacks, which were first prompted by the

Trustee’s deposition of the Debtor on November 11, 2022, and have been timed to coincide with

the hearings held in connection with the Contempt Motion between November 16 and November

18, 2022.

          18.      Notably, the clear connection between this intimidation campaign and the

Contempt Motion makes untenable the position taken by the Debtor’s counsel Mr. Henzy, who

has stated multiple times that he condemns the Debtor’s behavior, but takes the position that he

only represents the Debtor within the confines of this chapter 11 case. However, the Debtor’s

online attacks on the Trustee and PAX are part and parcel of this chapter 11 case, arising in the



25
      Images of these protests are attached hereto as Exhibit J.
26
      See Vice News, Take Down the CCP & World’s Coolest Dictator, SHOWTIME, (original air date: Dec. 19,
      2021), at 5:17 – 6:20 (available at https://app.box.com/s/whvua7buv2uk1pd4lydd6q7v81mfe5d0).

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 context of the Trustee’s prosecution of the Contempt Motion and the Trustee’s larger effort

 (pursuant to his fiduciary mandate) to identify and obtain control of assets belonging to the

 Debtor’s chapter 11 estate for the benefit of creditors.

                           DEBTOR MUST FACE CONSEQUENCES

        19.     As discussed above and at the November 16 Hearing, the Debtor is clearly

 engaging in an effort to intimidate the Trustee and his creditors, demonstrating clearly his lack of

 respect for this Court, the chapter 11 process, and the judicial system more generally. All of this

 is in keeping with his prior documented behavior, including inciting his followers to protest the

 homes of his perceived enemies (which in the past has resulted in incidents of violence), as well

 as the Debtor’s history of violating court orders, resulting in the imposition of massive contempt

 fines against the Debtor by Justice Ostrager as a prelude to the commencement of the Debtor’s

 chapter 11 case.

        20.     The Court should not allow the Debtor to engage in this type of behavior with

 impunity. Therefore, the Trustee and PAX believe that the Court should take remedial action

 against the Debtor, commencing with an order compelling the Debtor to appear before the Court

 and subject himself to cross-examination with respect to his involvement in the social media

 postings described above and the organizations purportedly sponsoring these postings.

        21.     Failure to hold the Debtor accountable for his behavior would have disastrous

 consequences. The Debtor’s methods of intimidation—the threat of online slander, the picketing

 of homes and businesses, and the invasion of the private lives of court officers and their

 families—have no place in any judicial proceeding. To be clear, the Debtor’s antics will not

 influence or sway the Trustee (or PAX), but the Debtor is sending a clearly threatening message

 to everyone else: “anyone who dares file a claim or provide testimony against me will be



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 destroyed.” Creditors and potential witnesses are watching these proceedings to see

 whether the Debtor will face any consequences from his attempts to intimidate a court

 appointed officer. 27 If there are none, this will send such parties a clear signal that these tactics

 will, without a doubt, be used against them.




 27
      The Second Circuit has held that a bankruptcy trustee is a court officer for purposes of 18 U.S.C. 1503, the
      federal criminal statute that punishes attempts to influence or intimidate court officers. See U.S. v. Crispo, 306
      F.3d 71, 78 (2d Cir. 2002). In Crispo, the debtor made several threats against the trustee, and attempted to have
      his daughter kidnapped, which the trustee reported to the FBI. The debtor was convicted for violating section
      1503, among other things, and sentenced to 85 months in prison. On appeal, the Second Circuit “concluded that
      a trustee is a court officer protected by the court-officer prong of § 1503,” and affirmed the conviction for
      obstruction of justice but remanded the sentencing aspect because the applicable range is 57 to 71 months. Id. at
      78, 82.

                                                           11
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 Dated:   November 21, 2022           LUC A. DESPINS,
          New Haven, Connecticut      CHAPTER 11 TRUSTEE


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                                     Exhibit A


                                    Call to Protest
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                                     Exhibit B

                            Image of Trustee with Sickle
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                                          Exhibit C


                           This exhibit has been filed under seal.
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                                          Exhibit D


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                                          Exhibit E


                           This exhibit has been filed under seal.
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                                          Exhibit F


                           This exhibit has been filed under seal.
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                                     Exhibit G

                     Pamphlet Distributed Near Trustee’s Home
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                                          Exhibit H


                           This exhibit has been filed under seal.
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                                     Exhibit I

                     Images of PAX Attorneys with Sickle Image
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                                       Exhibit J

    Images of Protests of Paul Hastings’ Attorneys and O'Melveny & Myers’ Attorneys
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